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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTER DISTRICT OF TEXAS
                              MARSHALL DIVISION


  GIGAMON, INC., §
                                           §
               Plaintiff, §
                                           §
                                           § CIVIL ACTION NO. 2:19-CV-00300-JRG
  APCON, INC., §
                                           §
                                           §
               Defendant. §



                              JURY VERDICT FORM

       In answering the following questions and completing this Verdict Form, you

 are to follow all the instructions I have given you in the Court s Final Jury

 Instructions. Your answers to each question must be unanimous. Some of the

 questions contain legal terms that are defined and explained in detail in the Final

 Juiy Instructions. You should refer to and consider the Final Jury Instructions as you

 answer the questions in this Verdict Form.
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 As used herein, the following terms have the following meanings:

    • Gigamon refers to Plaintiff Gigamon, Inc.

    • Apcon refers to Defendant Apcon, Inc.

    • The 862 Patent refers to U.S. Patent No. 8,570,862.


    • The “ 466 Patent refers to U.S. Patent No. 8,824,466.


    • The “’557 Patent refers to U.S. Patent No. 8,873,557.


    • The “’656 Patent refers to U.S. Patent No. 9,077,656.


    • The ’049 Patent refers to U.S. Patent No. 9,769,049.

    • The “Patents-In-Suit refers collectively to the ’862, ’466, ’557, ’656, and
       ’049 Patents.


    • The “Asserted Claims refers collectively to:

          o Claims 1 and 8 of the ’862 Patent;

          o Claim 12 of the ’466 Patent;

          o Claim 10 of the ’557 Patent;

          o Claim 14 of the ’656 Patent; and

          o Claim 16 of the ’049 Patent.




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   IT IS VERY IMPORTANT THAT YOU FOLLOW THE
  INSTRUCTIONS PROVIDED IN THIS VERDICT FORM.




           READ THEM CAREFULLY AND
    ENSURE YOUR VERDICT COMPLIES WITH THEM.




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  QUESTION NO. 1:



  Did Gigamon prove by a preponderance of the evidence that Apcon infringed

 ANY of the Asserted Claims?



       Yes:               No: X




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  QUESTION NO. 2:



  Did Apcon prove by clear and convincing evidence that any of the following

  Asserted Claims are invalid?

  Check either Yes or “No for each Asserted Claim listed below:


             Claim 1 of the 862 Patent Yes: No:

             Claim 8 of the 862 Patent Yes: No:

             Claim 12 of the ’466 Patent Yes: No:

             Claim 10 of the ’557 Patent Yes: X No:

             Claim 14 of the’656 Patent Yes:                   No:

             Claim 16 of the ’049 Patent Yes:                  No:




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 If you answered NO to Questio No. 1, OR YES to ALL Asserted Claims
 in Question No. 2, then DO NOT answer Question No. 3.

 Answer Question No. 3 ONLY as to any Asserted Claim that you have found
 BOTH to be infringed AND not invalid.




 QUESTION NO. 3



 Did Gigamon prove by a preponderance of the evidence that Apcon willfully

 infringed ANY of the Asserted Claims that you found were infringed?




       Yes:              No:




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 If you answered NO to Question No. 1 OR YES to ALL Asserted Claims i
 Question No. 2, then DO NOT answer Question Nos. 4a, 4b, or 4c.

 Answer Question Nos. 4a, 4b, and 4c ONLY as to any Asserted Claim that you
 have found BOTH to be infringed AND not invalid.




 QUESTION NO. 4a:



 What sum of money, if any, has Gigamon proven by a preponderance of the evidence

 that it is entitled to as lost profits?



 Answer in United States Dollars and Cents, if any:




        $




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 If you awarded lost profits in Question 4a, you must also answer Questio 4b
 as to any acts of infringement for which you have not already awarded lost
 profits.

 If you did NOT award any lost profits in Question 4a, you must answer
 Question 4b as to ALL acts of infrin ement.



 QUESTION NO. 4b:



 What sum of money, if any, paid now in cash, has Gigamon proven by a

 preponderance of the evidence would compensate Gigamon as a reasonable royalty

 for its damages resulting from infringement?




 Answer in United States Dollars and Cents, if any:




       $.




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  QUESTION NO, 4c:

        Is the reasonable royalty amount you awarded in Question 4b (i) a lump-sum

  representing damages for past and future infringement; or (ii) a running royalty?




        Check ONE of the following:




                                              Lump Sum

                                                   -OR-


                                              Running Royalty




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                     FINAL PAGE OF JURY VERDICT FORM

        You have now reached the end of the Verdict Form and should review it to

  ensure it accurately reflects your unanimous determinations. The Jury Foreperson

  should then sign and date the Verdict Form in the spaces below. Once this is done,

  notify the Court Security Officer that you have reached a verdict. The Jury

  Foreperson should keep the Verdict Form and bring it when the jury is brought back

  into the courtroom.



  Signed this   c2_0 day of April, 2021.




                                Jury Foreperson




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